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    1
                           UNITED STATES DISTRICT COURT
    2
                         CENTRAL DISTRICT OF CALIFORNIA
    3
    4                                           Case No. 2:22-cv-00047-GW-GJS
        Skot Heckman, Luis Ponce, Jeanene
    5   Popp, and Jacob Roberts, on behalf of
        themselves and all those similarly
    6   situated,                               [PROPOSED] ORDER ON JOINT
                                                STIPULATION BETWEEN
    7                     Plaintiffs,           PLAINTIFFS AND NONPARTY
                                                NEW ERA ADR, INC. SETTING
    8   v.                                      BRIEFING SCHEDULE
    9
        Live Nation Entertainment, Inc., and    [Civil Local Rule 7-1]
   10   Ticketmaster LLC,
                                                Assigned to: Honorable George H. Wu
   11                     Defendants.
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                                                   [PROPOSED] ORDER ON JOINT STIPULATION
                                                   BETWEEN PLAINTIFFS AND NONPARTY NEW
                                                  ERA ADR, INC. SETTING BRIEFING SCHEDULE
                                                                                  CASE NO
Case 2:22-cv-00047-GW-GJS Document 70-1 Filed 09/26/22 Page 2 of 2 Page ID #:913


    1
             Pending before this Court is a Joint Stipulation Setting Briefing Schedule
    2
        Between Plaintiffs Skot Heckman, Luis Ponce, Jeanene Popp, and Jacob Roberts
    3
        (together, “Plaintiffs”) and nonparty New Era ADR, Inc. (“New Era”), filed on
    4
        September 26, 2022.   Upon consideration of Plaintiffs’ and New Era’s Joint
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        Stipulation, and good cause appearing, IT IS HEREBY ORDERED that the Joint
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        Stipulation is GRANTED. The Court orders as follows:
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                   a.    New Era shall file its motion to quash on or before September
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                         26, 2022.
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                   b.    Plaintiffs shall file any opposition on or before October 11, 2022.
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                   c.    New Era shall file any reply on or before October 19, 2022.
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                   d.    Any hearing on New Era’s motion to quash shall be heard on
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                         November 7, 2022, or the earliest date thereafter that the Court’s
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                         calendar allows.
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        IT IS SO ORDERED.
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        Dated: __________________
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   19                                            Hon. George H. Wu
                                                 United States District Judge
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                                                    JOINT STIPULATION BETWEEN PLAINTIFFS AND
                                                1          NONPARTY NEW ERA ADR, INC. SETTING
                                                                           BRIEFING SCHEDULE
                                                                  CASE NO 2 22 CV 00047 GW GJS
